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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

 MARK GOLDSTEIN, DUCAMP BEAULIEU,
 and JOHN BRYAN, on behalf of themselves and
 all others similarly situated,

                               Plaintiffs,

        v.                                             C.A No. 24-1169-JLH-SRF

 RTX CORPORATION (f/k/a Raytheon
 Technologies Corporation, f/k/a Raytheon
 Company), RAYTHEON COMPANY (f/k/a
 Raytheon Intelligence & Space and Raytheon
 Missiles & Defense), PRATT & WHITNEY,
 COLLINS AEROSPACE, ROCKWELL
 COLLINS, INC., and ARINC INC.,

                               Defendants.

                PLAINTIFFS’ NOTICE OF SUPPLEMENTAL AUTHORITY

        Pursuant to Local Rule 7.1.2(b), Plaintiffs respectfully submit this Notice of Supplemental

 Authority to apprise the Court of the recent order in Mobley v. Workday, Inc., No. 23-cv-00770-

 RFL, 2025 U.S. Dist. LEXIS 94475 (N.D. Cal. May 16, 2025) (attached as Ex. A). In its order,

 the Mobley court granted conditional certification of and authorized the issuance of notice to a

 proposed collective of job applicants over the age of 40 alleging discrimination under the Age

 Discrimination in Employment Act (“ADEA”), id., which is pertinent to this Court’s consideration

 of Plaintiffs’ pending Motion for Court-Authorized Notice Pursuant to 29 U.S.C. § 216(b) [D.I.

 92-94, 112].

        In Mobley, the plaintiffs argue that defendant Workday, a widely used electronic job

 application platform, discriminates against older job applicants because its artificial intelligence

 (“AI”)-based applicant recommendation system disproportionately disadvantages them for job
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 opportunities with the companies which use Workday’s services. 2025 U.S. Dist. LEXIS 94475,

 at *1-2. The plaintiffs assert, among other things, that they have applied for hundreds of jobs via

 Workday “and have been rejected almost every time without an interview[.]” Id. at *2.

        In relevant part, the Mobley court concluded that the plaintiffs’ proposed collective of all

 applicants over 40 who were denied employment recommendations by Workday’s software was

 “similarly situated because Mobley has substantially alleged the existence of a unified policy: the

 use of Workday’s AI recommendation system to score, sort, rank, or screen applicants[,]” and that

 the plaintiffs’ ADEA claim was “susceptible to common proof” because, notwithstanding

 differences among them, including based on their relative qualifications and the fact that they

 applied to scores of different employers and job positions, the collective “members are alike in the

 central way that matters: they were allegedly required to compete on unequal footing due to

 Workday’s discriminatory AI recommendations.” Id. at *2-3, 13-14. The court further suggested

 that plaintiffs could meet the “more exacting ‘commonality’ standard” for certification of a Rule

 23 class action. Id. at *15 (citing Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350–56 (2011)).

        Moreover, the court dismissed concerns about the potential size of the collective, which

 Workday estimated could be in the “hundreds of millions[,]” and the purported “logistical hurdles

 to identifying members of the collective.” Id. at *3-4. The court explained that “[a]lleged

 widespread discrimination is not a basis for denying notice” and ordered the parties to meet and

 confer to develop a notice plan which, if necessary, could include “publication notice via social

 media” or other types of notice to send notice to otherwise unreachable collective members. Id. at

 *4.




 1 Plaintiffs here allege that Defendant RTX uses Workday with respect to job applications
 across all of its business units company-wide. See First Amended Compl. ¶ 53.
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  Dated: May 30, 2025                                BLOCK & LEVITON LLP

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